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                                                                      Page 1
             UNITED STATES DISTRICT COURT

             NORTHERN DISTRICT OF CALIFORNIA

                  SAN FRANCISCO DIVISION



WAYMO LLC,

         Plaintiff,

vs.                                 No. 3:17-cv-00939-WHA

UBER TECHNOLOGIES, INC.;

OTTOMOTTO LLC; OTTO TRUCKING,

INC.,

         Defendants.

_____________________________/



      WAYMO & UBER CONFIDENTIAL ATTORNEYS' EYES ONLY



         VIDEOTAPED DEPOSITION OF GREGORY KINTZ

                 SAN FRANCISCO, CALIFORNIA

                 WEDNESDAY, APRIL 26, 2017




BY:   ANDREA M. IGNACIO, CSR, RPR, CRR, CCRR, CLR ~

CSR LICENSE NO. 9830

JOB NO. 2592507



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